                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                   AT NASHVILLE


RICHARD KITTS                       )
                                    )
                  Plaintiff         )     NO. 3:22-cv-00366
                                    )
v.                                  )
                                    )
LIFE INSURANCE COMPANY OF           )
NORTH AMERICA                       )
                                    )
                  Defendant         )
______________________________________________________________________________

                     JOINT STIPULATION OF DISMISSAL
______________________________________________________________________________

       The parties announce to the Court that all claims pending in this action have been

compromised and settled. Each party is to bear its own costs and attorney’s fees, and no costs,

expenses, or fees are sought. Therefore, the parties stipulate that this entire case be dismissed,

with prejudice, pursuant to Fed.R.Civ.P. 41(a)(1)(A)(ii).



       Respectfully submitted,

 CODY ALLISON & ASSOCIATES, PLLC                   ROBINSON, SMITH & WELLS, PLLC

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this the 10th day of August, 2022, it is anticipated that a true and
exact copy of the foregoing will be served via the Court’s CM/ECF system on:

Marcie K. Bradley, Esq.
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                                              /s/ Andrew M. Hickman
                                              Andrew M. Hickman




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